Case
Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
                          Document99-5
                                   92-2 Filed
                                        Filed01/26/23
                                              08/30/22 Page
                                                       Page11of
                                                              of33PageID
                                                                  PageID#:
                                                                         #:1144
                                                                            684




  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK


   OREN ROSENSHINE
   AMIR ROSENSHINE

                        Plaintiffs,
                                                                  18-cv-03572
      vs.
                                                                   (LDH-LB)
  A. MESHI COSMETICS INDUSTRIES LTD., A TO
  Z IMPORTS, INC. and EYAL NOACH

                        Defendants




                         DECLARATION OF ALLISON KHASKELIS
                          IN SUPPORT OF THE LOCAL RULE 56.1
                        STATEMENT SUBMITTED BY DEFENDANT
                         A. MESHI COSMETICS INDUSTRIES LTD.

  ALLISON KHASKELIS, an attorney duly admitted to practice law before this Court,

  declares the following:

                   1.     I am an attorney at the law firm of Asserson Hiller P.C., counsel for

  A. Meshi Cosmetics Industries Ltd. (“Meshi”). I am fully familiar with the facts and

  circumstances set forth herein.

                   2.     Attached are true and correct copies of the following documents:


      Exhibit 1:                         Declaration of Yermi Mizrahi dated June 3, 2019,
                                         submitted in support of Meshi’s Motion to Dismiss (ECF
                                         No. 47-2);

      Exhibit 2:                         Meshi Corporate Structure Statement (Bates Number
                                         AMeshi_000023), produced to Plaintiffs on June 21, 2022;



                                                 1
Case
Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
                          Document99-5
                                   92-2 Filed
                                        Filed01/26/23
                                              08/30/22 Page
                                                       Page22of
                                                              of33PageID
                                                                  PageID#:
                                                                         #:1145
                                                                            685




      Exhibit 3:                 Screenshot of Global Manufacturing Import Export Inc.’s
                                 (“GMIE”) registration with the New York Department of
                                 State Division of Corporations, available at
                                 https://apps.dos.ny.gov/publicInquiry/EntityDisplay and
                                 last accessed on August 24, 2022;

      Exhibit 4:                 Meshi general ledger for 2012 (generated on February 23,
                                 2022) demonstrating GMIE arrears for Star Gel purchased
                                 in the amount of $1,967.64 that has never been paid
                                 (AMeshi_000004), produced to Plaintiffs on April 28,
                                 2022;

      Exhibit 5:                 First Request for Production of Documents by Defendant
                                 A. Meshi Cosmetics Industries Ltd. Directed to Plaintiffs
                                 Oren and Amir Rosenshine Pursuant to Rule 34 of the
                                 Federal Rules of Civil Procedure, dated March 24, 2022
                                 (ECF No. 82-1);

      Exhibit 6:                 Correspondence between the parties regarding discovery
                                 (ECF No. 82-2);

      Exhibit 7:                 Plaintiffs’ May 31, 2022 production of documents to Meshi
                                 (no Bates numbers on production), with summary table of
                                 the production prepared by counsel for Meshi

      Exhibit 8:                 Transcript of the June 8, 2022 Hearing before the
                                 Honorable Lois Bloom, certified on June 11, 2022 by Mary
                                 Greco of Transcriptions Plus II, Inc.;

      Exhibit 9:                 November 23, 2016 Meshi invoice to A to Z (Bates
                                 Number AMeshi_000001), produced to Plaintiffs on April
                                 28, 2022;

      Exhibit 10:                Plaintiffs’ disclosures produced to Meshi on December 14,
                                 2020 (ECF No. 82-3);

      Exhibit 11:                Meshi’s June 21, 2022 Offer of Judgment to the Plaintiffs
                                 with attendant correspondence.




                                        2
Case
Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB Document
                          Document99-5
                                   92-2 Filed
                                        Filed01/26/23
                                              08/30/22 Page
                                                       Page33of
                                                              of33PageID
                                                                  PageID#:
                                                                         #:1146
                                                                            686




  Dated: August 30, 2022                     Respectfully submitted,
         New York, New York
                                            /s/ Allison Khaskelis
                                            Allison Khaskelis, Esq.
                                            ASSERSON HILLER P.C.
                                            11 Broadway, Suite 615
                                            New York, New York 10004
                                            Telephone: (212) 939-7585
                                            Facsimile: (212) 939-6406


                                           Attorneys for Defendant
                                           A. Meshi Cosmetics Industries Ltd.




                                       3
